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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF PUERTO RICO

JOSE A. MARTINO-VALDES CIVIL NO.:

Plaintiff,

RE: TORT CLAIM
v.

RENAISSANCE HOTEL MANAGEMENT | PLAINTIFF DEMANDS TRIAL
COMPANY, LLC. d/b/a THE WORTHINGTON | BY JURY

RENAISSANCE FORT WORTH HOTEL;
CORPORATION A; CORPORATION. B:
CORPORATION C; A INSURANCE COMPANY;
B INSURANCE COMPANY; and C INSURANCE
COMPANY.

Defendants.

 

 

COMPLAINT
TO THE HONORABLE COURT:

COMES NOW, plaintiff José A. Martiné-Valdés, (hereinafter referred to as “Dr.
Martino”), represented through his undersigned attorney and very respectfully requests,
states and prays:

I. JURISDICTION AND VENUE

1. Also, original jurisdiction over all the causes of action is vested in this
Court by virtue of 28 ULS.C.S. § 1332(a).

2. Dr. Martind is domiciled of the Commonwealth of Puerto Rico; the
Renaissance Hotel Management Company, LLC, is a limited liability company doing
business, in the state of Texas.

3, The herein stated claims exceed the $75,000.00 amount, id., thus, the

diversity jurisdiction amount is exceeded by the present claims.
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I. THE PARTIES
PLAINTIFF:

8. José A. Martind-Valdés, is a resident and domiciliary of the
Commonwealth of Puerto Rico, of legal age, married, a doctor in medicine with a
subspecialty in anesthesiology, and who is physically handicapped because he does not
have his two (2) legs; he must obtain locomotion by means of prosthesis and canes, etc.
DEFENDANTS:

9, Renaissance Hotel Management Company, LLC, (hereinafter the
“Defendant”), is a company who, by information and belief, operates The Worthington
Renaissance Fort Worth Hotel, which is located at located at 200 Main Street, Fort
Worth, Texas 76102, and who’s filling number at the registries of the “Texas Secretary of
State” is 705848723.

10. “Corporation A” is a company incorporated under the laws of a place
other than the Commonwealth of Puerto Rico, and which has an ownership interest
and/or which is responsible for the administration of The Worthington Renaissance Fort
Worth Hotel, located at 200 Main Street, Fort Worth, Texas 76102, and as such, 1s liable
and responsible for the herein stated claims.

li. “Corporation B” is a company incorporated under the laws of a place other
than the Commonwealth of Puerto Rico, and which has an ownership interest and/or
which is responsible for the administration of The Worthington Renaissance Fort Worth
Hotel, located at 200 Main Street, Fort Worth, Texas 76102, and as such, is liable and
responsible for the herein stated claims.

12. “Corporation C” is a company incorporated under the laws of a place other

than the Commonwealth of Puerto Rico, and which has an ownership interest and/or
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which is responsible for the administration of The Worthington Renaissance Fort Worth
Hotel, located at 200 Main Street, Fort Worth, Texas 76102, and as such, is liable and
responsible for the herein stated claims.

13. “A Insurance Company” is an insurance company incorporated under the
laws of a place other than the Commonwealth of Puerto Rico which has sued a policy to
cover some or all of the risks and/or liabilities and/or occurrences incurred by the
Defendant. and/or mentioned in this complaint.

14. “B Insurance Company” is an insurance company incorporated under the
laws of the State of Virginia, USA or elsewhere, which has sued a policy to cover some
or all of the risks and/or liabilities and/or occurrences incurred by the Defendant and/or
mentioned in this complaint.

15. “C Insurance Company” is an insurance company incorporated under the
laws of a place other than the Commonwealth of Puerto Rico which has sued a policy to
cover some or all of the risks and/or liabilities and/or occurrences incurred by the
Defendant and/or mentioned in this complaint.

Ill. FACTUAL VERSION

16. On or around April 2, 2009, Dr. Martiné checked-in at the Defendant's
hotel: The Worthington Renaissance Fort Worth Hotel, (hereinafter referred as the
“Hotel’”), at 200 Main Street, Fort Worth, Texas 76102.

17. The room Dr. Martind needed was one proper and acclimated for a person
with a physical disability, that is, a handicap-equipped-room. The Hotel assigned him a
room which theoretically was a handicap-equipped-room.

18. The Hotel knew of Dr. Martin6’s disability.
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19. Dr. Martiné was attending to a “World Congress of Acupuncture,” which
was being celebrated in the facilities of the Hotel. He was scheduled to stay at the Hotel
until, on or around April 6, 2009, and then return to Puerto Rico.

20. As scheduled, Dr. Martind attended the “World Congress of
Acupuncture,” and prepared himself to leave, on or around April 6, 2009.

21. The incident occurred on this date, on or around April 6, 2009, his last day
at the Hotel.’

22. Dr. Martind woke up around 5:00 a.m. and 6:00 a.m. in order to fully
prepare himself for his departure. Although his flight was scheduled to leave, on or
around 1:00 pm., he is used to commence his preparation early, given the time required to
do so as a result of his condition.

23, Dr. Martind prepared the bathroom to take a shower, that is, put his
clothes in it, and set his towel.

24, The bathroom in his room had a shower, and a wood seat was attached to
the wall. The handlers of the seat were iron, and on the top ones, which were in form of
two circles, three (3) screws where holding the seat to the wall.

25. The wall on which the wood seat was attached to, had tiles, and the screws
were introduced into it.

26, Dr. Martiné entered the shower to take his bath, and sat on the wood seat.
He removed both of his prosthesis, and put them near in order to reach them once he
finished his bath. The only way he could put on his prosthesis was while seated on a
chair — or at a place with similar altitude — but never on the floor because he is unable to

properly organize them for use on the floor.

 

‘Unless otherwise stated, all the following events occurred on this date.
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27. Ending his bath, Dr. Martiné fell to the floor of the shower, because the
wood seat’s handles gave up and fell. The impact of the fall was direct on Dr. Martiné’s
left arm, which he instinctively moved to a position trying to prevent a greater impact,
and on his back.

28. The screws that were on the top part of the handle of the seat, came out of
the wall, that is, they became unscrew. The screws were rusty.

29. Because Dr. Martind is unable to put his prosthesis on while on the floor,
as explained before, he had to figure a way to reach a higher place in which he could sit
and attach his prosthesis. The closest place he could sit, he figured, was the toilet.

30. Dr. Martind could not call for help, as there was no telephone in the
bathroom.

31. Dr. Martins tried to “walk” with the stumps he has on his legs; he put two
towels on the floor in front of him and tried to “walk” on them. He was not able to, and
he suffered injuries to his legs while trying to do so.

32. Given that the only way he figured he might help himself was to sit on the
toilet and put on his prosthesis, he made the effort to reach an iron bar on the wall of the
bathroom, and helped himseif to the toilet.

33. Once Dr. Martiné reached the toilet, he put his prosthesis and got dressed.
Only then he was able to get out of the bathroom, and then called the Hotel’s reception,
where he informed management of the ordeal he had just suffered.

34. After around five (5) to ten (10) minutes, around four (4) Hotel employees
arrived at Dr. Martind’s room. Among them, the manager of the Hotel and someone

from maintenance.
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35. No first aid assistance was brought to Dr. Martinéd from the Hotel
employees when they arrived; an offer to call “911” was made after their arrival to his
room,

36. The employees brought a camera and took pictures of the shower and of
the fallen wood seat. Dr. Martiné was told that the room was going to be closed after his
departure.

37. Dr. Martind got to the airport, and left Dallas on his way to Puerto Rico.
While on the plane, he began feeling pain — electric shocks — on his left arm and back,
and headaches; he is not accustomed to suffering these symptoms.

38. After ruling out a problem with his vision, he went, on or around April 8,
2009, and did some tests to figure out what was causing his symptoms.

39. Dr. Martinéd was diagnosed with a “traumatic disc” as a result of a “recent
trauma.” He never told his physician, until after knowing the tests’ results, that he had
fell recently.

40. Also, given that he had kidney surgery, he took tests to check it up; the
kidney was not affected. Although, an “incisional hernia” was caused immediately after
his fall.

41, Dr. Martiné had no record of having trouble with his back, nor with any of
the recent conditions he is suffering.

42. Dr. Martind is suffering now, as a consequence of the fall at the Hotel,
from continuous back, neck and arm pain, electric shocks on his left arm, sudden
headaches, and pain on his sternum.

43. Dr. Martind used to sleep well at night. After his fall, it has been

impossible for him to sleep without feeling pain.
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44, Furthermore, Dr. Martind used to work weekly around six (6) days a
week, Now, as a direct result of the conditions he is suffering consequence of the fall at
the Hotel, he is being able only to work around three (3) days a week. Thus, he has been
deprived of almost and/or around of half of his usual weekly income.

45. All the symptoms in Dr. Martiné’s back, neck, arm, sternum and his
headaches, are a direct result of his fall at the Hotel.

46. Dr. Martino, as direct consequence of the aforementioned symptoms, is
also suffering from sudden mood changes, as he is faced with excruciating unavoidable
lapses of pain.

47, The Hotel’s administration contacted Dr. Martiné because he allegedly
had established a claim for the damages he suffered caused by the Hotel; they
interviewed him but never reached him to determine and/or propose him a compensation
for the damages they caused him.

VI. CAUSE OF ACTION

48. The Hotel is responsible for Dr. Martiné’s sufferings, detailed herein,
because it intentionally and/or negligently did not give the proper maintenance to the
wood seat in Dr. Martind’s room. 31 L.P.R.A. § 5141.

49, The Hotel is responsible for Dr. Martiné’s conditions, detailed herein,
because it knew, or should have known, that he — a person with a physical handicap —
would use the wood seat in the shower of the Hotel room, and that it should not be
sustained by rusty screws. /d.

50. The Hotel is responsible for Dr. Martiné’s conditions, detailed herein, as it
rented him a room with a wood seat in the shower that it knew, and/or should have

known, was defective and/or improperly installed through tiles. Jd.
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51. The Hotel is responsible for Dr. Martind’s conditions, detailed herein,
because all of them were consequences of the fall in the Hotel’s room, which happened as
a result of the Hotel’s lack of maintenance of the wood seat in the shower. Id.

WHEREFORE, Dr. Martind, respectfully requests of this Honorable Court for
Judgment as follows:

A} Dr. Martind’s past and future loss of business income due to Defendants’
intentional and/or negligent, improper maintenance of the wood seat in the
room he rented in their Hotel, in an amount no less than $2,500,000.00;

B} Compensate Dr. Martiné for all his physical and emotional distresses,
caused as direct result of his fall in the Defendant’s Hotel, and which are
estimated in no less than $500,000.00; and

C) Legal fees and costs.

RESPECTFOLLY SUBMITTED.

In San Juan, Puerto Rico, this 5" day of April 2010.

C\

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